Case 2:04-cr-20163-.]PI\/|-tmp Document 80 Filed 04/27/05 Page 1 of 2 Page|D 102

CJ"F

IN THE UNITED STATES DISTRICT COURT 3
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF' AMERICA,
Plaintiff,

v. Cr. No. 04H20163

\/`IRGIL TAB, JR.,

Defendant.

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ORDER WITHDRAWING ORDER OF REFERENCE

 

The Court having granted the motion to allow attorney
Coleman Garrett and William Johnson to withdraw during the report
date on April 22, 2005, and the defendant having announced
that new Counsel hae been retained, the Order of Reference

entered April 22, 2005 is hereby WITHDRAWN.

30 oRDERED THIS 'Z(.FDAY oF April, 2005.

§§qude

PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

   
 

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Honorable J on McCalla
US DISTRICT COURT

